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Bar Number: 00795547
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                                    IN THE UNITED STATES BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF TEXAS
                                              FORT WORTH DIVISION
In re: Jose Raymond Briones                       xxx-xx-5469             §          Case No:
       10037 Regent Row St                                                §
                                                                                     Date:        2/15/2019
       Fort Worth, TX 76126                                               §
                                                                          §          Chapter 13
                                                                          §




                                  Debtor(s)




                                                  DEBTOR'S(S') CHAPTER 13 PLAN
                                              (CONTAINING A MOTION FOR VALUATION)

                                                            DISCLOSURES
    This Plan does not contain any Nonstandard Provisions.

    This Plan contains Nonstandard Provisions listed in Section III.

    This Plan does not limit the amount of a secured claim based on a valuation of the Collateral for the claim.
    This Plan does limit the amount of a secured claim based on a valuation of the Collateral for the claim.

This Plan does not avoid a security interest or lien.

Language in italicized type in this Plan shall be as defined in the "General Order 2017-01, Standing Order Concerning Chapter 13
Cases" and as it may be superseded or amended ("General Order"). All provisions of the General Order shall apply to this Plan
as if fully set out herein.




                                                                 Page 1
Plan Payment:    $2,355.00                      Value of Non-exempt property per § 1325(a)(4):        $320.00
Plan Term:     60 months                        Monthly Disposable Income per § 1325(b)(2):         $0.00
Plan Base:    $141,300.00                       Monthly Disposable Income x ACP ("UCP"):          $0.00
Applicable Commitment Period: 36 months
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                                                        MOTION FOR VALUATION

Pursuant to Bankruptcy Rule 3012, for purposes of 11 U.S.C. § 506(a) and § 1325(a)(5) and for purposes of determination of the
amounts to be distributed to holders of secured claims who do not accept the Plan, Debtor(s) hereby move(s) the Court to value the
Collateral described in Section I, Part E.(1) and Part F of the Plan at the lesser of the value set forth therein or any value claimed on
the proof of claim. Any objection to valuation shall be filed at least seven (7) days prior to the date of the Trustee's pre-hearing
conference regarding Confirmation or shall be deemed waived.


                                                        SECTION I
                                    DEBTOR'S(S') CHAPTER 13 PLAN - SPECIFIC PROVISIONS
                                                   FORM REVISED 7/1/17
A.   PLAN PAYMENTS:

          Debtor(s) propose(s) to pay to the Trustee the sum of:
             $2,355.00     per month, months    1       to   60    .

          For a total of    $141,300.00     (estimated " Base Amount ").

          First payment is due      3/17/2019       .
          The applicable commitment period ("ACP") is        36   months.

          Monthly Disposable Income ("DI") calculated by Debtor(s) per § 1325(b)(2) is:          $0.00          .

          The Unsecured Creditors' Pool ("UCP"), which is DI x ACP, as estimated by the Debtor(s), shall be no less than:
               $0.00      .

          Debtor's(s') equity in non-exempt property, as estimated by Debtor(s) per § 1325(a)(4), shall be no less than:
              $320.00         .

B. STATUTORY, ADMINISTRATIVE AND DSO CLAIMS:

     1.   CLERK'S FILING FEE: Total filing fees paid through the Plan, if any, are            $0.00           and shall be paid in full
          prior to disbursements to any other creditor.

     2.   STATUTORY TRUSTEE'S PERCENTAGE FEE(S) AND NOTICING FEES: Trustee's Percentage Fee(s) and any
          noticing fees shall be paid first out of each receipt as provided in General Order 2017-01 (as it may be superseded or
          amended) and 28 U.S.C. § 586(e)(1) and (2).

     3.   DOMESTIC SUPPORT OBLIGATIONS: The Debtor is responsible for paying any Post-petition Domestic Support
          Obligation directly to the DSO claimant. Pre-petition Domestic Support Obligations per Schedule "E/F" shall be paid in
          the following monthly payments:


                      DSO CLAIMANTS                           SCHED. AMOUNT            %        TERM (APPROXIMATE)              TREATMENT
                                                                                                 (MONTHS __ TO __)              $__ PER MO.

C. ATTORNEY FEES: To                        Munden Law Firm               , total:          $3,700.00     ;
      $690.00   Pre-petition;             $3,010.00   disbursed by the Trustee.




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D.(1) PRE-PETITION MORTGAGE ARREARAGE:

               MORTGAGEE                          SCHED.              DATE               %       TERM (APPROXIMATE)          TREATMENT
                                                 ARR. AMT        ARR. THROUGH                     (MONTHS __ TO __)
Ocwen Loan Servicing LLC                             $8,050.00                          0.00%        Month(s) 1-60                  Pro-Rata
10037 Regent Row St

D.(2) CURRENT POST-PETITION MORTGAGE PAYMENTS DISBURSED BY THE TRUSTEE IN A CONDUIT CASE:

                       MORTGAGEE                                  # OF PAYMENTS            CURRENT POST-              FIRST CONDUIT
                                                                 PAID BY TRUSTEE         PETITION MORTGAGE          PAYMENT DUE DATE
                                                                                          PAYMENT AMOUNT                (MM-DD-YY)
Ocwen Loan Servicing LLC                                               58 month(s)                    $1,746.30                  4/1/2019
10037 Regent Row St

D.(3) POST-PETITION MORTGAGE ARREARAGE:

               MORTGAGEE                           TOTAL           DUE DATE(S)           %       TERM (APPROXIMATE)          TREATMENT
                                                    AMT.           (MM-DD-YY)                     (MONTHS __ TO __)
Ocwen Loan Servicing LLC                             $3,512.66                          0.00%        Month(s) 1-60                  Pro-Rata
10037 Regent Row St

E.(1) SECURED CREDITORS - PAID BY THE TRUSTEE:

A.

                 CREDITOR /                    SCHED. AMT.            VALUE             %        TERM (APPROXIMATE)          TREATMENT
                COLLATERAL                                                                        (MONTHS __ TO __)            Per Mo.

B.

                 CREDITOR /                    SCHED. AMT.            VALUE             %                                    TREATMENT
                COLLATERAL                                                                                                     Pro-rata

Conns                                                $1,200.00            $400.00      0.00%                                        Pro-Rata
Grill and lawnmower
Progressive Leasing                                    $450.00              $0.00      0.00%                                        Pro-Rata
Mattress

To the extent the value amount in E.(1) is less than the scheduled amount in E.(1), the creditor may object. In the event a creditor
objects to the treatment proposed in paragraph E.(1), the Debtor(s) retain(s) the right to surrender the Collateral to the creditor in
satisfaction of the creditor's claim.

E.(2) SECURED 1325(a)(9) CLAIMS PAID BY THE TRUSTEE - NO CRAM DOWN:

A.
                          CREDITOR /                              SCHED. AMT.           %        TERM (APPROXIMATE)          TREATMENT
                         COLLATERAL                                                               (MONTHS __ TO __)            Per Mo.




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B.
                          CREDITOR /                              SCHED. AMT.           %                                    TREATMENT
                         COLLATERAL                                                                                            Pro-rata

The valuation of Collateral set out in E.(1) and the interest rate to be paid on the above scheduled claims in E.(1) and E.(2) will
be finally determined at confirmation. The allowed claim amount will be determined based on a timely filed proof of claim and
the Trustee's Recommendation Concerning Claims ("TRCC") or by an order on an objection to claim.

Absent any objection to the treatment described in E.(1) or E.(2), the creditor(s) listed in E.(1) and E.(2) shall be deemed to have
accepted the Plan per section 1325(a)(5)(A) of the Bankruptcy Code and to have waived its or their rights under section
1325(a)(5)(B) and (C) of the Bankruptcy Code.

F.   SECURED CREDITORS - COLLATERAL TO BE SURRENDERED:

                            CREDITOR /                                 SCHED. AMT.            VALUE                  TREATMENT
                           COLLATERAL

Upon confirmation, pursuant to 11 U.S.C. § 1322(b)(8), the surrender of the Collateral described herein will provide for the
payment of all or part of a claim against the Debtor(s) in the amount of the value given herein.

The valuation of Collateral in F will be finally determined at confirmation. The allowed claim amount will be determined based
on a timely filed proof of claim and the Trustee's Recommendation Concerning Claims ("TRCC") or by an order on an objection
to claim.

The Debtor(s) request(s) that the automatic stay be terminated as to the surrendered Collateral. If there is no objection to the
surrender, the automatic stay shall terminate and the Trustee shall cease disbursements on any secured claim which is
secured by the Surrendered Collateral, without further order of the Court, on the 7th day after the date the Plan is filed. However,
the stay shall not be terminated if the Trustee or affected secured lender files an objection in compliance with paragraph 8 of the
General Order until such objection is resolved.

Nothing in this Plan shall be deemed to abrogate any applicable non-bankruptcy statutory or contractual rights of the Debtor(s).

G. SECURED CREDITORS - PAID DIRECT BY DEBTOR:

                         CREDITOR                                                   COLLATERAL                              SCHED. AMT.

H. PRIORITY CREDITORS OTHER THAN DOMESTIC SUPPORT OBLIGATIONS:

                                CREDITOR                                       SCHED. AMT.      TERM (APPROXIMATE)           TREATMENT
                                                                                                 (MONTHS __ TO __)
Internal Revenue Service                                                         $15,000.00       Month(s) 1-60                       Pro-Rata

I.   SPECIAL CLASS:

                                CREDITOR                                       SCHED. AMT.      TERM (APPROXIMATE)           TREATMENT
                                                                                                 (MONTHS __ TO __)

JUSTIFICATION:



J.   UNSECURED CREDITORS:

                        CREDITOR                              SCHED. AMT.                               COMMENT
1st American                                                       $1,601.00
Absolute Collection Services                                       $1,800.00
Ace Credit Services                                                $1,204.00
Advance America                                                    $1,400.00
Assetcare                                                            $438.00


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Avio Credit Inc.                              $400.00
Bullcity Financial Solutions                  $518.00
Capital One                                   $750.00
Cash America                                 $1,450.00
Cash Net USA                                 $1,300.00
Cash Store                                   $1,476.72
Citi                                          $228.00
Commonwealth Financial Systems Inc.           $285.00
Computer Credit Inc                           $150.00
Conns                                         $800.00 Unsecured portion of the secured debt (Bifurcated)
Continental                                   $450.00
Credit Management LP                          $119.00
Credit One Bank                               $425.40
Credit Systems International                  $183.00
Credit Union of Texas                         $467.00
Credit Union Services, Inc.                   $254.00
EECU                                         $1,672.00
First Access Visa                             $325.62
First Bank of Delaware                        $470.00
First Premier Bank                            $520.05
First Premier Bank                            $252.00
Fortiva Retail Credit                        $1,276.00
Harris & Harris Ltd.                              $95.00
I.C.Systems                                       $80.00
Integrity Funding                            $2,526.24
Internal Revenue Service                    $16,899.48 Bifurcated portion of priority claim
James Kendall                                $3,000.00
Jefferson Capital Systems LLC                $1,204.00
LVNV                                         $1,800.00
North Texas Tollway Authority                 $268.05
One Main Financial                           $4,100.00
Paula Moore                                  $4,000.00
Payday Select                                 $512.00
Phoenix Financial Services LLC                $150.00
Poolmasters Inc.                              $564.22
Portfolio Recovery Associates                     $99.47
Portfolio Recovery Associates                 $871.22
Power Finance Texas                          $1,589.00
Premier Bankcard/Charter                      $253.00
Professional Finance Co., Inc.                    $39.81
Progressive Leasing                           $450.00 Unsecured portion of the secured debt (Bifurcated)
Reflex Cardholder Services                    $495.80
Speedy Cash                                  $1,600.00
Think Cash                                    $520.00
True Financial Services                      $1,204.00
United Revenue Corp                               $68.00


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Valero Gas Card                                                        $433.00
Verizon Wireless                                                       $202.00
Wachovia                                                             $1,000.00

TOTAL SCHEDULED UNSECURED:                                         $64,239.08

The Debtor's(s') estimated (but not guaranteed) payout to unsecured creditors based on the scheduled amount is ____________.
                                                                                                                     0%

General unsecured claims will not receive any payment until after the order approving the TRCC becomes final.
K. EXECUTORY CONTRACTS AND UNEXPIRED LEASES:

                    § 365 PARTY                        ASSUME/REJECT          CURE AMOUNT         TERM (APPROXIMATE)            TREATMENT
                                                                                                   (MONTHS __ TO __)

                                                        SECTION II
                                    DEBTOR'S(S') CHAPTER 13 PLAN - GENERAL PROVISIONS
                                                    FORM REVISED 7/1/17
A.   SUBMISSION OF DISPOSABLE INCOME:

Debtor(s) hereby submit(s) future earnings or other future income to the Trustee to pay the Base Amount.

B. ADMINISTRATIVE EXPENSES, DSO CLAIMS & PAYMENT OF TRUSTEE'S STATUTORY PERCENTAGE FEE(S) AND
   NOTICING FEES:

The Statutory Percentage Fees of the Trustee shall be paid in full pursuant to 11 U.S.C. §§ 105(a), 1326(b)(2), and 28 U.S.C.
§ 586(e)(1)(B). The Trustee is authorized to charge and collect Noticing Fees as indicated in Section I, Part "B" hereof.

C. ATTORNEY FEES:
Debtor's(s') Attorney Fees totaling the amount indicated in Section I, Part C, shall be disbursed by the Trustee in the amount
shown as "Disbursed By The Trustee" pursuant to this Plan and the Debtor's(s') Authorization for Adequate Protection
Disbursements ("AAPD "), if filed.

D.(1) PRE-PETITION MORTGAGE ARREARAGE:
The Pre-Petition Mortgage Arrearage shall be paid by the Trustee in the allowed pre-petition arrearage amount and at the rate of
interest indicated in Section I, Part D.(1). To the extent interest is provided, it will be calculated from the date of the Petition. The
principal balance owing upon confirmation of the Plan on the allowed pre-petition Mortgage Arrearage amount shall be reduced
by the total adequate protection less any interest (if applicable) paid to the creditor by the Trustee. Such creditors shall retain
their liens.

D.(2) CURRENT POST-PETITION MORTGAGE PAYMENTS DISBURSED BY TRUSTEE IN A CONDUIT CASE:
Current Post-Petition Mortgage Payment(s) shall be paid by the Trustee as indicated in Section I, Part D.(2), or as otherwise
provided in the General Order.

The Current Post-Petition Mortgage Payment(s) indicated in Section I, Part D.(2) reflects what the Debtor(s) believe(s) is/are the
periodic payment amounts owed to the Mortgage Lender as of the date of the filing of this Plan. Adjustment of the Plan Payment
and Base Amount shall be calculated as set out in the General Order, paragraph 15(c)(3).

Payments received by the Trustee for payment of the Debtor's Current Post-Petition Mortgage Payment(s) shall be deemed
adequate protection to the creditor.

Upon completion of the Plan, Debtor(s) shall resume making the Current Post-Petition Mortgage Payments required by their
contract on the due date following the date specified in the Trustee's records as the date through which the Trustee made the
last Current Post-Petition Mortgage Payment.

Unless otherwise ordered by the Court, and subject to Bankruptcy Rule 3002.1(f)-(h), if a Conduit Debtor is current on his/her
Plan Payments or the payment(s) due pursuant to any wage directive, the Mortgage Lender shall be deemed current post-petition.




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D.(3) POST-PETITION MORTGAGE ARREARAGE:
The Post-Petition Mortgage Arrearage shall be paid by the Trustee in the allowed amount and at the rate of interest indicated in
Section I, Part D.(3). To the extent interest is provided, it will be calculated from the date of the Petition.

Mortgage Lenders shall retain their liens.

E.(1)    SECURED CLAIMS TO BE PAID BY TRUSTEE:
The claims listed in Section I, Part E.(1) shall be paid by the Trustee as secured to the extent of the lesser of the allowed claim
amount (per a timely filed Proof of Claim not objected to by a party in interest) or the value of the Collateral as stated in the Plan.
Any amount claimed in excess of the value shall automatically be split and treated as unsecured as indicated in Section I, Part H
or J, per 11 U.S.C. § 506(a). Such creditors shall retain their liens on the Collateral described in Section I, Part E.(1) as set out in
11 U.S.C. § 1325(a)(5)(B)(I) and shall receive interest at the rate indicated from the date of confirmation or, if the value shown is
greater than the allowed claim amount, from the date of the Petition, up to the amount by which the claim is over-secured. The
principal balance owing upon confirmation of the Plan on the allowed secured claim shall be reduced by the total of adequate
protection payments less any interest (if applicable) paid to the creditor by the Trustee.

E.(2)    SECURED 1325(a)(9) CLAIMS TO BE PAID BY THE TRUSTEE--NO CRAM DOWN:

Claims in Section I, Part E.(2) are either debts incurred within 910 days of the Petition Date secured by a purchase money
security interest in a motor vehicle acquired for the personal use of the Debtor(s) or debts incurred within one year of the
Petition Date secured by any other thing of value.

The claims listed in Section I, Part E.(2) shall be paid by the Trustee as fully secured to the extent of the allowed amount (per a
timely filed Proof of Claim not objected to by a party in interest). Such creditors shall retain their liens on the Collateral described
in Section I, Part E.(2) until the earlier of the payment of the underlying debt determined under non-bankruptcy law or a discharge
under § 1328 and shall receive interest at the rate indicated from the date of confirmation. The principal balance owing upon
confirmation of the Plan on the allowed secured claim shall be reduced by the total of adequate protection payments paid to the
creditor by the Trustee.

To the extent a secured claim not provided for in Section I, Part D, E.(1) or E.(2) is allowed by the Court, Debtor(s) will pay the
claim direct per the contract or statute.

Each secured claim shall constitute a separate class.

F.   SATISFACTION OF CLAIM BY SURRENDER OF COLLATERAL:

The claims listed in Section I, Part F shall be satisfied as secured to the extent of the value of the Collateral , as stated in the
Plan , by surrender of the Collateral by the Debtor(s) on or before confirmation. Any amount claimed in excess of the value of the
Collateral , to the extent it is allowed, shall be automatically split and treated as indicated in Section I, Part H or J, per
11 U.S.C. § 506(a).

Each secured claim shall constitute a separate class.

G. DIRECT PAYMENTS BY DEBTOR(S):

Payments on all secured claims listed in Section I, Part G shall be disbursed by the Debtor(s) to the claimant in accordance with
the terms of their agreement or any applicable statute, unless otherwise provided in Section III, "Nonstandard Provisions."

No direct payment to the IRS from future income or earnings in accordance with 11 U.S.C. § 1322(a)(1) will be permitted.

Each secured claim shall constitute a separate class.

H. PRIORITY CLAIMS OTHER THAN DOMESTIC SUPPORT OBLIGATIONS:
Failure to object to confirmation of this Plan shall not be deemed acceptance of the "SCHED. AMT." shown in Section I, Part H.
The claims listed in Section I, Part H shall be paid their allowed amount by the Trustee, in full, pro-rata, as priority claims, without
interest.

I.   CLASSIFIED UNSECURED CLAIMS:
Classified unsecured claims shall be treated as allowed by the Court.

J.   GENERAL UNSECURED CLAIMS TIMELY FILED:
All other allowed claims not otherwise provided for herein shall be designated general unsecured claims.


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K. EXECUTORY CONTRACTS AND UNEXPIRED LEASES:
As provided in § 1322(b)(7) of the Bankruptcy Code, the Debtor(s) assume(s) or reject(s) the executory contracts or unexpired
leases with parties as indicated in Section I, Part K.

Assumed lease and executory contract arrearage amounts shall be disbursed by the Trustee as indicated in Section I, Part K.

L.   CLAIMS TO BE PAID:
"TERM (APPROXIMATE)" as used in this Plan states the estimated number of months from the Petition Date required to fully pay
the allowed claim. If adequate protection payments have been authorized and made, they will be applied to principal as to both
under-secured and fully secured claims and allocated between interest and principal as to over-secured claims. Payment
pursuant to this Plan will only be made on statutory, secured, administrative, priority and unsecured claims that are allowed or,
pre-confirmation, that the Debtor(s) has/have authorized in a filed Authorization for Adequate Protection Disbursements.

M. ADDITIONAL PLAN PROVISIONS:
Any additional Plan provisions shall be set out in Section III, "Nonstandard Provisions."
N. POST-PETITION NON-ESCROWED AD VALOREM (PROPERTY) TAXES AND INSURANCE:

Whether the Debtor is a Conduit Debtor or not, if the regular payment made by the Debtor to a Mortgage Lender or any other
lienholder secured by real property does not include an escrow for the payment of ad valorem (property) taxes or insurance, the
Debtor is responsible for the timely payment of post-petition taxes directly to the tax assessor and is responsible for maintaining
property insurance as required by the mortgage security agreement, paying all premiums as they become due directly to the
insurer. If the Debtor fails to make these payments, the mortgage holder may, but is not required to, pay the taxes and/or the
insurance. If the mortgage holder pays the taxes and/or insurance, the mortgage holder may file, as appropriate, a motion for
reimbursement of the amount paid as an administrative claim or a Notice of Payment Change by Mortgage Lender or a Notice of
Fees, Expenses, and Charges.

O. CLAIMS NOT FILED:

A claim not filed with the Court will not be paid by the Trustee post-confirmation regardless of its treatment in Section I or on the
AAPD.

P.   CLAIMS FOR PRE-PETITION NON-PECUNIARY PENALTIES, FINES, FORFEITURES, MULTIPLE, EXEMPLARY OR
     PUNITIVE DAMAGES:

Any unsecured claim for a non-pecuniary penalty, fine, or forfeiture, or for multiple, exemplary or punitive damages, expressly
including an IRS penalty to the date of the petition on unsecured and/or priority claims, shall be paid only a pro-rata share of any
funds remaining after all other unsecured claims, including late filed claims, have been paid in full.

Q. CLAIMS FOR POST-PETITION PENALTIES AND INTEREST:
No interest, penalty, or additional charge shall be allowed on any pre-petition claims subsequent to the filing of the petition,
unless expressly provided herein.

R. BUSINESS CASE OPERATING REPORTS:
Upon the filing of the Trustee's 11 U.S.C. § 1302(c) Business Case Report, business Debtors are no longer required to file
operating reports with the Trustee, unless the Trustee requests otherwise. The filing of the Trustee's 11 U.S.C. § 1302(c)
Business Case Report shall terminate the Trustee's duties but not the Trustee's right to investigate or monitor the Debtor's(s')
business affairs, assets or liabilities.

S.   NO TRUSTEE'S LIABILITY FOR DEBTOR'S POST-CONFIRMATION OPERATION AND BAR DATE FOR CLAIMS FOR
     PRE-CONFIRMATION OPERATIONS:

The Trustee shall not be liable for any claim arising from the post-confirmation operation of the Debtor's(s') business. Any
claims against the Trustee arising from the pre-confirmation operation of the Debtor's(s') business must be filed with the
Bankruptcy Court within sixty (60) days after entry by the Bankruptcy Court of the Order of Confirmation or be barred.

T.   DISPOSAL OF DEBTOR'S NON-EXEMPT PROPERTY; RE-VESTING OF PROPERTY; NON-LIABILITY OF TRUSTEE FOR
     PROPERTY IN POSSESSION OF DEBTOR WHERE DEBTOR HAS EXCLUSIVE RIGHT TO USE, SELL, OR LEASE IT; AND
     TRUSTEE PAYMENTS UPON POST CONFIRMATION CONVERSION OR DISMISSAL:

Debtor(s) shall not dispose of or encumber any non-exempt property or release or settle any lawsuit or claim by Debtor(s), prior
to discharge, without consent of the Trustee or order of the Court after notice to the Trustee and all creditors.


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Property of the estate shall not vest in the Debtor until such time as a discharge is granted or the Case is dismissed or closed
without discharge. Vesting shall be subject to all liens and encumbrances in existence when the Case was filed and all valid
post-petition liens, except those liens avoided by court order or extinguished by operation of law. In the event the Case is
converted to a case under chapter 7, 11, or 12 of the Bankruptcy Code, the property of the estate shall vest in accordance with
applicable law. After confirmation of the Plan, the Trustee shall have no further authority, fiduciary duty or liability regarding the
use, sale, insurance of or refinance of property of the estate except to respond to any motion for the proposed use, sale, or
refinance of such property as required by the applicable laws and/or rules. Prior to any discharge or dismissal, the Debtor(s)
must seek approval of the court to purchase, sell, or refinance real property.

Upon dismissal of the Case post confirmation, the Trustee shall disburse all funds on hand in accordance with this Plan. Upon
conversion of the Case, any balance on hand will be disbursed by the Trustee in accordance with applicable law.

U. ORDER OF PAYMENT:

Unless otherwise ordered by the court, all claims and other disbursements made by the Chapter 13 Trustee after the entry of an
order confirming the Chapter 13 Plan, whether pursuant to this Plan or a modification thereof, will be paid in the order set out
below, to the extent a creditor's claim is allowed or the disbursement is otherwise authorized. Each numbered paragraph below
is a level of payment. All disbursements which are in a specified monthly amount are referred to as "per mo." At the time of any
disbursement, if there are insufficient funds on hand to pay any per mo payment in full, claimant(s) with a higher level of payment
shall be paid any unpaid balance owed on a per mo payment plus the current per mo payment owed to that same claimant, in
full, before any disbursement to a claimant with a lower level of payment. If multiple claimants are scheduled to receive per mo
payments within the same level of payment and there are insufficient funds to make those payments in full, available funds will
be disbursed to the claimants within that level on a pro-rata basis. Claimants with a higher level of payment which are
designated as receiving pro-rata payments shall be paid, in full, before any disbursements are made to any claimant with a
lower level of payment.

1st -- Clerk's Filing Fee and Trustee's Percentage Fee(s) and Noticing Fees in B.(1) and B.(2) and per statutory provisions will
be paid in full.

2nd -- Current Post-Petition Mortgage Payments (Conduit) in D.(2) and as adjusted according to the General Order, which must
be designated to be paid per mo.

3rd -- Creditors listed in E.(1)(A) and E.(2)(A), which must be designated to be paid per mo, and Domestic Support Obligations
("DSO") in B.(3), which must be designated to be paid per mo.

4th -- Attorney Fees in C, which must be designated to be paid pro-rata.

5th -- Post-Petition Mortgage Arrearage as set out in D.(3), if designated to be paid per mo.

6th -- Post-Petition Mortgage Arrearage as set out in D.(3), if designated to be paid pro-rata.

7th -- Arrearages owed on Executory Contracts and Unexpired Leases in K, which must be designated to be paid per mo.

8th -- Any Creditors listed in D.(1), if designated to be paid per mo.

9th -- Any Creditors listed in D.(1), if designated to be paid pro-rata and/or Creditors listed in E.(1)(B) or E.(2)(B), which must be
designated to be paid pro-rata.

10th -- All amounts allowed pursuant to a Notice of Fees, Expenses and Charges, which will be paid pro-rata.
11th -- Priority Creditors Other than Domestic Support Obligations ("Priority Creditors") in H, which must be designated to be
paid pro-rata.

12th -- Special Class in I, which must be designated to be paid per mo.

13th -- Unsecured Creditors in J, other than late filed or penalty claims, which must be designated to be paid pro-rata.

14th -- Late filed claims by Secured Creditors in D.(1), D.(2), D.(3), E.(1) and E.(2), which must be designated to be paid pro-rata,
unless other treatment is authorized by the Court.

15th -- Late filed claims for DSO or filed by Priority Creditors in B.(3) and H, which must be designated to be paid pro-rata.




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Case No:
Debtor(s):   Jose Raymond Briones


16th -- Late filed claims by Unsecured Creditors in J, which must be designated to be paid pro-rata.

17th -- Unsecured claims for a non-pecuniary penalty, fine, or forfeiture, or for multiple, exemplary or punitive damages,
expressly including an IRS penalty to the date of the petition on unsecured and/or priority claims. These claims must be
designated to be paid pro-rata.


V.   POST-PETITION CLAIMS:
Claims filed under § 1305 of the Bankruptcy Code shall be paid as allowed. To the extent necessary, Debtor(s) will modify this Plan.

W. TRUSTEE'S RECOMMENDATION CONCERNING CLAIMS ("TRCC") PROCEDURE:
See the provisions of the General Order regarding this procedure.




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                                                         SECTION III
                                                   NONSTANDARD PROVISIONS

The following nonstandard provisions, if any, constitute terms of this Plan. Any nonstandard provision placed elsewhere in the
Plan is void.
None.
I, the undersigned, hereby certify that the Plan contains no nonstandard provisions other than those set out in this final paragraph.

/s/ Kathleen Munden
Kathleen Munden, Debtor's(s') Attorney                                    Debtor (if unrepresented by an attorney)


Debtor's(s') Chapter 13 Plan (Containing a Motion for Valuation) is respectfully submitted.

/s/ Kathleen Munden                                                       00795547
Kathleen Munden, Debtor's(s') Counsel                                     State Bar Number




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                                                    CERTIFICATE OF SERVICE

I, the undersigned, hereby certify that the foregoing Debtor's(s') Chapter 13 Plan (Containing a Motion for Valuation) was served on
the following entities either by Electronic Service or by First Class Mail, Postage Pre-paid on the    3rd day of April, 2019        :

(List each party served, specifying the name and address of each party)


Dated:              April 1, 2019                                         /s/ Kathleen Munden
                                                                          Kathleen Munden, Debtor's(s') Counsel

1st American                                       Bullcity Financial Solutions                       Commonwealth Financial Systems
8802                                               5148                                               Inc.
2019 8th Ave                                       1107 W Main St Ste 201                             09N1
Fort Worth, TX 76110                               Durham, NC 27701                                   245 Main Street
                                                                                                      Scranton, PA 18519


Absolute Collection Services                       Capital One                                        Computer Credit Inc
7966                                               5263                                               0772
50 Palmetto Bay Rd #205                            PO Box 30285                                       PO Box 5238
Hilton Head Island, SC 29928                       Salt Lake City UT 84130-0285                       Durham, NC 27713-5238



Ace Credit Services                                Cash America                                       Conns
3001                                               2505                                               5906
6304 Jacksboro Hwy                                 17 Triangle Park                                   PO Box 815867
Fort Worth, TX 76135                               Cincinnati, OH 45246                               Dallas, TX 75234-5867



Advance America                                    Cash Net USA                                       Continental
9906                                               5970                                               6787
9112 Camp Bowie West Blvd, Suite                   PO Box 18066                                       PO Drawer 811
120                                                Hauppauge, NY 11788                                Spartanburg, SC 29304
Fort Worth, TX 76116


Assetcare                                          Cash Store                                         Credit Management LP
3421                                               5273                                               2279
2222 Texoma Pkwy Ste 180                           1901 Gateway Dr, Suite 200                         4200 International Pkwy
Sherman, TX 75090                                  Irving TX 75038                                    Carrollton, TX 75007



Avio Credit Inc.                                   Citi                                               Credit One Bank
0848                                               6330                                               0668
PO Box 780408                                      PO Box 6500                                        PO Box 98873
Wichita, KS 67278-0408                             Sioux Falls SD 57117                               Las Vegas, NV 89193-8673




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Credit Systems International        Fortiva Retail Credit                LVNV
5394                                1429                                 3082
1277 Country Club Lane              PO Box 105555                        PO Box 740281
Fort Worth, TX 76112                Atlanta, GA 30348-5555               Houston, TX 77274



Credit Union of Texas               Harris & Harris Ltd.                 North Texas Tollway Authority
4700                                3891                                 5942
PO Box 515169                       222 Merchandise Mark Plaza           PO Box 660244
Dallas, TX 75251                    Chicago, IL 60654                    Dallas, TX 75266



Credit Union Services, Inc.         I.C.Systems                          Ocwen Loan Servicing LLC
5469                                3274                                 9437
PO Box 515718                       PO Box 64137                         PO Box 24738
Dallas, TX 75251-5718               Saint Paul, MN 55164-0137            West Palm Beach, FL 33416-4738



EECU                                Integrity Funding                    One Main Financial
0003                                9906                                 7020
PO Box 1777                         84 Villa Rd                          4608 Bryant Irvin Rd, Suite 411
Fort Worth, TX 76101                Greenville, SC 29615                 Fort Worth, TX 76132



First Access Visa                   Internal Revenue Service             Paula Moore
4306                                5469                                 3804
PO Box 89028                        PO Box 7346                          933 W Weatherford St Ste 200
Sioux Falls, SD 57109-9028          Philadelphia PA 19101-7346           Fort Worth, TX 76102



First Bank of Delaware              James Kendall                        Payday Select
6787                                None                                 5469
1000 Rock Run Parkway               117 Sproles Dr                       PO Box 852
Wilmington, DE 19801                Fort Worth, TX 76126                 Ruidoso, NM 88345



First Premier Bank                  Jefferson Capital Systems LLC        Phoenix Financial Services LLC
7815                                4309                                 9699
PO Box 5524                         PO Box 7999                          8902 Otis Ave Ste 103A
Sioux Falls, SD 57117-5524          Saint Cloud, MN 56302                Indianapolis, IN 46216-1077



First Premier Bank                  Jose Raymond Briones                 Poolmasters Inc.
4576                                10037 Regent Row St                  2307
PO Box 5524                         Fort Worth, TX 76126                 7329 Bramblewood Rd
Sioux Falls, SD 57117-5524                                               Fort Worth, TX 76133




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Case No:
Debtor(s):   Jose Raymond Briones


Portfolio Recovery Associates       Think Cash
xxxnown                             xxxnown
PO Box 41067                        PO Box 101842
Norfolk, VA 23541                   Fort Worth, TX 76126



Portfolio Recovery Associates       True Financial Services
5827                                3001
PO Box 41067                        PO Box 2803
Norfolk, VA 23541                   Peachtree City, GA 30269-0803



Power Finance Texas                 United Revenue Corp
9289                                9453
1303 N. Collins St                  204 Billings St Ste 120
Arlington, TX 76011                 Arlington, TX 76010-2495



Premier Bankcard/Charter            United States Trustee
4576                                1100 Commerce St Room 976
PO Box 2208                         Dallas, TX 75242-0996
Vacaville, CA 95696



Professional Finance Co., Inc.      Valero Gas Card
6584                                0001
5754 West 11th St, Suite 100        PO Box 631
Greeley, CO 80634-4809              Amarillo TX 79105-0631



Progressive Leasing                 Verizon Wireless
xxxnown                             xxxnown
256 W Data Dr                       PO Box 650051
Draper UT 84020                     Dallas, TX 75265



Reflex Cardholder Services          Wachovia
4433                                xxxnown
PO Box 3220                         PO Box 21566
Buffalo, NY 14240                   Greensboro, NC 27420-1566



Speedy Cash
8357
PO Box 780408
Wichita, KS 67278-0408




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Munden Law Firm
4500 Mercantile Plaza Dr
Suite 300
Fort Worth, TX 76137

Bar Number: 00795547
Phone: (817) 361-4325
                                           IN THE UNITED STATES BANKRUPTCY COURT
                                                 NORTHERN DISTRICT OF TEXAS
                                                      FORT WORTH DIVISION
                                                             Revised 10/1/2016

IN RE: Jose Raymond Briones                        xxx-xx-5469      §      CASE NO:
       10037 Regent Row St                                          §
       Fort Worth, TX 76126                                         §
                                                                    §
                                                                    §




                                  Debtor(s)


AUTHORIZATION FOR ADEQUATE PROTECTION DISBURSEMENTS                                                        2/15/2019
                                                                                                    DATED:________________
The undersigned Debtor(s) hereby request that payments received by the Trustee prior to confirmation be disbursed as
indicated below:

 Periodic Payment Amount                                                                                                              $2,355.00

 Disbursements                                                                                    First (1)                  Second (2) (Other)

 Account Balance Reserve                                                                            $5.00               $5.00 carried forward
 Trustee Percentage Fee                                                                           $164.50                              $164.85

 Filing Fee                                                                                         $0.00                                $0.00

 Noticing Fee                                                                                      $60.90                                $0.00
 Subtotal Expenses/Fees                                                                           $230.40                              $164.85
 Available for payment of Adequate Protection, Attorney Fees and
 Current Post-Petition Mortgage Payments:                                                       $2,124.60                            $2,190.15


CREDITORS SECURED BY VEHICLES (CAR CREDITORS):
                                                                                                                Adequate              Adequate
                                                                           Scheduled            Value of        Protection           Protection
 Name                                 Collateral                             Amount            Collateral      Percentage       Payment Amount

                                    Total Adequate Protection Payments for Creditors Secured by Vehicles:                                 $0.00

CURRENT POST-PETITION MORTGAGE PAYMENTS (CONDUIT):

                                                                                              Scheduled          Value of
 Name                                 Collateral                            Start Date          Amount          Collateral      Payment Amount
 Ocwen Loan Servicing LLC             10037 Regent Row St                   4/1/2019         $144,801.85      $233,606.00              $1,756.33

                                          Payments for Current Post-Petition Mortgage Payments (Conduit):                             $1,756.33




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Debtor(s):   Jose Raymond Briones



 CREDITORS SECURED BY COLLATERAL OTHER THAN A VEHICLE:
                                                                                                            Adequate             Adequate
                                                                            Scheduled          Value of     Protection          Protection
   Name                                Collateral                             Amount          Collateral   Percentage      Payment Amount

                Total Adequate Protection Payments for Creditors Secured by Collateral other than a vehicle:                         $0.00

                                                TOTAL PRE-CONFIRMATION PAYMENTS

 First Month Disbursement (after payment of Clerk's Filing Fee, any Noticing Fee, Chapter 13 Trustee
 Percentage Fee, and retention of the Account Balance Reserve):

      Current Post-Petition Mortgage Payments (Conduit payments), per mo:                                                           $0.00
      Adequate Protection to Creditors Secured by Vehicles ("Car Creditor"), per mo:                                                $0.00
      Debtor's Attorney, per mo:                                                                                                $2,124.60
      Adequate Protection to Creditors Secured by other than a Vehicle, per mo:                                                     $0.00

 Disbursements starting month 2 (after payment of Clerk's Filing Fee, any Noticing Fee, Chapter 13
 Trustee Percentage Fee, and retention of the Account Balance Reserve):

      Current Post-Petition Mortgage Payments (Conduit payments), per mo:                                                       $1,756.33
      Adequate Protection to Creditors Secured by Vehicles ("Car Creditor"), per mo:                                                $0.00
      Debtor's Attorney, per mo:                                                                                                 $433.82
      Adequate Protection to Creditors Secured by other than a Vehicle, per mo:                                                     $0.00



 Order of Payment:

 Unless otherwise ordered by the court, all claims and other disbursements made by the Chapter 13 Trustee prior to entry of an
 order confirming the Chapter 13 Plan will be paid in the order set out above. All disbursements which are in a specified monthly
 amount are referred to as "per mo". At the time of any disbursement, if there are insufficient funds on hand to pay any per mo
 payment in full, claimant(s) with a higher level of payment shall be paid any unpaid balance owed on the per mo payment plus
 the current per mo payment owed to that same claimant, in full, before any disbursement to a claimant with a lower level of
 payment. Other than the Current Post-Petition Mortgage Payments, the principal balance owing upon confirmation of the Plan on
 the allowed secured claim shall be reduced by the total of adequate protection payments, less any interest (if applicable), paid to
 the creditor by the Trustee.



 DATED:________________________
         4/1/2019

 /s/ Kathleen Munden
 Attorney for Debtor(s)




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 Fill in this information to identify your case:                                             Check as directed in lines 17 and 21:

 Debtor 1           Jose                    Raymond               Briones                    According to the calculations required by this
                    First Name              Middle Name           Last Name                  Statement:

 Debtor 2                                                                                       1. Disposable income is not determined
 (Spouse, if filing) First Name             Middle Name           Last Name                        under 11 U.S.C. § 1325(b)(3).
                                                                                                2. Disposable income is determined
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS                                under 11 U.S.C. § 1325(b)(3).

 Case number                                                                                    3. The commitment period is 3 years.
 (if known)                                                                                     4. The commitment period is 5 years.


                                                                                                 Check if this is an amended filing
Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known).


 Part 1:       Calculate Your Average Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married. Fill out both Columns A and B, lines 2-11.

     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                        $439.91
     (before all payroll deductions).
3.   Alimony and maintenance payments. Do not include payments from a spouse.                     $0.00

4.   All amounts from any source which are regularly paid for household                           $0.00
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Do not include payments from a
     spouse. Do not include payments you listed on line 3.

5.   Net income from operating a business, profession, or farm

                                               Debtor 1           Debtor 2
     Gross receipts (before all                       $0.00
     deductions)
     Ordinary and necessary operating      –          $0.00   –
     expenses                                                                   Copy
     Net monthly income from a business,              $0.00                     here              $0.00
     profession, or farm




Official Form 122C-1              Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                    page 1
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Debtor 1          Jose Raymond Briones                                                                                                 Case number (if known)

                                                                                                                                           Column A        Column B
                                                                                                                                           Debtor 1        Debtor 2 or
                                                                                                                                                           non-filing spouse

6.    Net income from rental and other real property

                                                                 Debtor 1                       Debtor 2
      Gross receipts (before all                                             $0.00
      deductions)
      Ordinary and necessary operating                      –                $0.00          –
      expenses                                                                                                            Copy
      Net monthly income from rental or                                      $0.00                                        here                     $0.00
      other real property

7.    Interest, dividends, and royalties                                                                                                           $0.00
8.    Unemployment compensation                                                                                                                    $0.00
      Do not enter the amount if you contend that the amount received was a
      benefit under the Social Security Act. Instead, list it here: ...............................................
                                                                                                               $0.00
          For you............................................................................................................................
          For your spouse..............................................................................................................
9.    Pension or retirement income. Do not include any amount received that                                                                 $1,685.00
      was a benefit under the Social Security Act.
10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total below.




      Total amounts from separate pages, if any.                                                                                     +                     +
11. Calculate your total average monthly income.
    Add lines 2 through 10 for each column.                                                                                                 $2,124.91      +               =       $2,124.91
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                               Total average
                                                                                                                                                                               monthly income

  Part 2:           Determine How to Measure Your Deductions from Income
                                                                                                                                                                         $2,124.91
12. Copy your total average monthly income from line 11. ..............................................................................................................................................
13. Calculate the marital adjustment. Check one:
             You are not married. Fill in 0 below.
             You are married and your spouse is filing with you. Fill in 0 below.
             You are married and your spouse is not filing with you.
             Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses
             of you or your dependents, such as payment of the spouse's tax liability or the spouse's support of someone other
             than you or your dependents.
             Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If
             necessary, list additional adjustments on a separate page.

             If this adjustment does not apply, enter 0 below.




                                                                                                                      +
             Total......................................................................................................................   $0.00      Copy here                –       $0.00

14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                       $2,124.91



Official Form 122C-1                        Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                    page 2
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Debtor 1      Jose Raymond Briones                                                                                                 Case number (if known)

15. Calculate your current monthly income for the year. Follow these steps:

    15a.    Copy line 14 here                                                                                                                                                                              $2,124.91
                                              ...................................................................................................................................................................................

            Multiply line 15a by 12 (the number of months in a year).                                                                                                                                 X         12

    15b.                                                                                                                                                          $25,498.92
            The result is your current monthly income for the year for this part of the form. .......................................................................................

16. Calculate the median family income that applies to you. Follow these steps:

    16a.    Fill in the state in which you live.                                                          Texas

    16b.    Fill in the number of people in your household.                                                    2

    16c.                                                                                                                                                             $65,429.00
            Fill in the median family income for your state and size of household......................................................................................................................
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.

17. How do the lines compare?

    17a.           Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined
                   under 11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).
    17b.           Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                   11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2).
                   On line 39 of that form, copy your current monthly income from line 14 above.


 Part 3:        Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11.                                                                                                                                                   $2,124.91
                                                                                              ..............................................................................................................................................

19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
    that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse's
    income, copy the amount from line 13.

    19a.                                                                                                                                                             –                $0.00
            If the marital adjustment does not apply, fill in 0 on line 19a. .......................................................................................................................

    19b.    Subtract line 19a from line 18.                                                                                                                                                                $2,124.91

20. Calculate your current monthly income for the year. Follow these steps:
    20a.                                                                                                                                                                                             $2,124.91
            Copy line 19b ...................................................................................................................................................................................
            Multiply by 12 (the number of months in a year).                                                                                                                                          X         12
    20b.    The result is your current monthly income for the year for this part of the form.                                                                                                             $25,498.92

    20c.                                                                                                                                                 $65,429.00
            Copy the median family income for your state and size of household from line 16c. ............................................................................................................

21. How do the lines compare?
           Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
           check box 3, The commitment period is 3 years. Go to Part 4.
           Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1
           of this form, check box 4, The commitment period is 5 years. Go to Part 4.




Official Form 122C-1                   Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                      page 3
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Debtor 1    Jose Raymond Briones                                                         Case number (if known)

 Part 4:      Sign Below

    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.


    X   /s/ Jose Raymond Briones                                             X
        Jose Raymond Briones, Debtor 1                                           Signature of Debtor 2

        Date 4/1/2019                                                            Date
             MM / DD / YYYY                                                             MM / DD / YYYY

    If you checked 17a, do NOT fill out or file Form 122C-2.

    If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 122C-1         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                        page 4
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 Fill in this information to identify your case:
 Debtor 1               Jose                          Raymond                       Briones
                        First Name                    Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name                       Middle Name                   Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
 (if known)
                                                                                                                                   Check if this is an amended filing


Official Form 122C-2                                                        Don't Skip Sections Option is Turned On
Chapter 13 Calculation of Your Disposable Income                                                                                                                                    04/16
To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and
Calculation of Commitment Period (Official Form 122C-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known).


 Part 1:         Calculate Your Deductions from Your Income
The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts
to answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate
instructions for this form. This information may also be available at the bankruptcy clerk's office.

Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your
actual expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5
and 6 of Form 122C-1, and do not deduct any amounts that you subtracted from your spouse's income in line 13 of Form 122C-1.

If your expenses differ from month to month, enter the average expense.

Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

 5.   The number of people used in determining your deductions from income
      Fill in the number of people who could be claimed as exemptions on your federal income tax
      return, plus the number of any additional dependents whom you support. This number may                                                               2
      be different from the number of people in your household.


 National Standards                 You must use the IRS National Standards to answer the questions in lines 6-7.

 6.   Food, clothing and other items: Using the number of people you entered in line 5 and the IRS National Standards,                                                          $1,202.00
      fill in the dollar amount for food, clothing, and other items.
 7.   Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
      fill in the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are
      under 65 and people who are 65 or older--because older people have a higher IRS allowance for health care costs. If
      your actual expenses are higher than this IRS amount, you may deduct the additional amount on line 22.

        People who are under 65 years of age

      7a. Out-of-pocket health care allowance per person                                      $52.00
      7b. Number of people who are under 65                                         X
                                                                                                              Copy
      7c. Subtotal. Multiply line 7a by line 7b.                                                $0.00         here                               $0.00

        People who are 65 years of age or older

      7d. Out-of-pocket health care allowance per person                                    $114.00
      7e. Number of people who are 65 or older                                      X
                                                                                                              Copy
      7f.   Subtotal. Multiply line 7d by line 7e.                                              $0.00         here                +              $0.00
                                                                                                                                                                   Copy
                                                                                                                                                  $0.00            here
      7g. Total. Add lines 7c and 7f................................................................................................................................               $0.00



Official Form 122C-2                                                  Chapter 13 Calculation of Your Disposable Income                                                              page 1
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Debtor 1     Jose Raymond Briones                                                            Case number (if known)

 Local Standards             You must use the IRS Local Standards to answer the questions in lines 8-15.

 Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing
 for bankruptcy purposes into two parts:

      Housing and utilities -- Insurance and operating expenses
      Housing and utilities -- Mortgage or rent expenses

 To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using
 the link specified in the separate instructions for this form. This chart may also be available at the
 bankruptcy clerk's office.

 8.    Housing and utilities -- Insurance and operating expenses: Using the number of people you entered in line 5,                 $584.00
       fill in the dollar amount listed for your county for insurance and operating expenses.

 9.    Housing and utilities -- Mortgage or rent expenses:

       9a. Using the number of people you entered in line 5, fill in the dollar amount listed            $1,193.00
           for your county for mortgage or rent expenses.

       9b. Total average monthly payment for all mortgages and other debts secured by
           your home.

            To calculate the total average monthly payment, add all amounts that are
            contractually due to each secured creditor in the 60 months after you file for
            bankruptcy. Next divide by 60.

             Name of the creditor                                 Average monthly
                                                                  payment

            Ocwen Loan Servicing LLC                                $1,546.20



                                                              +
                                                                                                                   Repeat this
                                                                                    Copy                           amount on
            9b. Total average monthly payment                       $1,546.20       here           –     $1,546.20 line 33a.

       9c. Net mortgage or rent expense.
                                                                                                                      Copy
            Subtract line 9b (total average monthly payment) from line 9a (mortgage or                       $0.00    here            $0.00
            rent expense). If this number is less than $0, enter $0.

 10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect
     and affects the calculation of your monthly expenses, fill in any additional amount you claim.

       Explain
       why:


 11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
            0. Go to line 14.
            1. Go to line 12.
            2 or more. Go to line 12.

 12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the                    $252.00
     operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.




Official Form 122C-2                                   Chapter 13 Calculation of Your Disposable Income                                page 2
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Debtor 1      Jose Raymond Briones                                                                           Case number (if known)

 13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease
     expense for each vehicle below. You may not claim the expense if you do not make any loan or lease payments on
     the vehicle. In addition, you may not claim the expense for more than two vehicles.


      Vehicle 1         Describe Vehicle 1:




                                                                                                                           $497.00
      13a. Ownership or leasing costs using IRS Local Standard. ...........................................................................

      13b. Average monthly payment for all debts secured by Vehicle 1.

            Do not include costs for leased vehicles.

            To calculate the average monthly payment here and on line 13e, add all
            amounts that are contractually due to each secured creditor in the 60 months
            after you file for bankruptcy. Then divide by 60.


              Name of each creditor for Vehicle 1                            Average monthly
                                                                             payment




                                                                         +
                                                                                                                                        Repeat this
                                                                                                   Copy                                 amount on
                                Total average monthly payment                         $0.00        here                  –        $0.00 line 33b.

                                                                                                                                      Copy net
                                                                                                                                      Vehicle 1
      13c. Net Vehicle 1 ownership or lease expense.                                                                                  expense
           Subtract line 13b from line 13a. If this number is less than $0, enter $0. ........................                $497.00 here                  $497.00

      Vehicle 2         Describe Vehicle 2:




      13d. Ownership or leasing costs using IRS Local Standard. ...........................................................................

      13e. Average monthly payment for all debts secured by Vehicle 2. Do not include
           costs for leased vehicles.

              Name of each creditor for Vehicle 2                            Average monthly
                                                                             payment




                                                                                                                                              Repeat this
                                                                                                   Copy                                       amount on
                                Total average monthly payment                                      here                  –                    line 33c.

                                                                                                                                              Copy net
                                                                                                                                              Vehicle 2
      13f. Net Vehicle 2 ownership or lease expense.                                                                                          expense
           Subtract line 13e from 13d. If this number is less than $0, enter $0.                   ........................                   here            $0.00

 14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public                                   $0.00
     Transportation expense allowance regardless of whether you use public transportation.




Official Form 122C-2                                           Chapter 13 Calculation of Your Disposable Income                                                page 3
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Debtor 1       Jose Raymond Briones                                                      Case number (if known)

 15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may                                         $0.00
     also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
     not claim more than the IRS Local Standard for Public Transportation.

 Other Necessary Expenses           In addition to the expense deductions listed above, you are allowed your monthly expenses for the
                                    following IRS categories.

 16. Taxes: The total monthly amount that you actually pay for federal, state and local taxes, such as income taxes, self-                                        $0.00
     employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
     your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
     and subtract that number from the total monthly amount that is withheld to pay for taxes.
     Do not include real estate, sales, or use taxes.

 17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,                                       $0.00
     union dues, and uniform costs.
     Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.

 18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are                                          $0.00
     filing together, include payments that you make for your spouse's term life insurance.
     Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any
     form of life insurance other than term.

 19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative                                          $0.00
     agency, such as spousal or child support payments.
     Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

 20. Education: The total monthly amount that you pay for education that is either required:                                                                      $0.00
       as a condition for your job, or
       for your physically or mentally challenged dependent child if no public education is available for similar services.
 21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.                                        $0.00
     Do not include payments for any elementary or secondary school education.
 22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that                                             $0.00
     is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
     health savings account. Include only the amount that is more than the total entered in line 7.
     Payments for health insurance or health savings accounts should be listed only in line 25.

 23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services                            +                $0.00
     for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
     phone service, to the extent necessary for your health and welfare or that of your dependents or for the production
     of income, if it is not reimbursed by your employer.
     Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
     expenses, such as those reported on line 5 of Official Form 122C-1, or any amount you previously deducted.

 24. Add all of the expenses allowed under the IRS expense allowances.
     Add lines 6 through 23.                                                                                                                              $2,535.00

 Additional Expense Deductions           These are additional deductions allowed by the Means Test.
                                         Note: Do not include any expense allowances listed in lines 6-24.
 25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
     insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your
     spouse, or your dependents.

      Health insurance                                            $0.00
      Disability insurance                                        $0.00
      Health savings account                           +          $0.00

      Total                                                       $0.00 Copy total here                                                                             $0.00
                                                                                                 ...........................................................................

      Do you actually spend this total amount?
              No. How much do you actually spend?
              Yes
 26. Continued contributions to the care of household or family members. The actual monthly expenses that you                                                     $0.00
     will continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled
     member of your household or member of your immediate family who is unable to pay for such expenses. These
     expenses may include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).


Official Form 122C-2                                 Chapter 13 Calculation of Your Disposable Income                                                              page 4
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Debtor 1    Jose Raymond Briones                                                        Case number (if known)

 27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the                     $0.00
     safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
     By law, the court must keep the nature of these expenses confidential.

 28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses
     on line 8.

      If you believe that you have home energy costs that are more than the home energy costs included in expenses on
      line 8, then fill in the excess amount of home energy costs.

      You must give your case trustee documentation of your actual expenses, and you must show that the additional
      amount claimed is reasonable and necessary.

 29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than                           $0.00
     $170.83* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
     public elementary or secondary school.

      You must give your case trustee documentation of your actual expenses, and you must explain why the amount
      claimed is reasonable and necessary and not already accounted for in lines 6-23.

      * Subject to adjustment on 4/01/19, and every 3 years after that for cases begun on or after the date of adjustment.

 30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
     higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
     than 5% of the food and clothing allowances in the IRS National Standards.

      To find a chart showing the maximum additional allowance, go online using the link specified in the separate
      instructions for this form. This chart may also be available at the bankruptcy clerk's office.

      You must show that the additional amount claimed is reasonable and necessary.

 31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial     +      $0.00
     instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).
      Do not include any amount more than 15% of your gross monthly income.
 32. Add all of the additional expense deductions.                                                                                    $0.00
     Add lines 25 though 31.




Official Form 122C-2                                 Chapter 13 Calculation of Your Disposable Income                                  page 5
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Debtor 1      Jose Raymond Briones                                                                                             Case number (if known)

 Deductions for Debt Payment

 33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
     loans, and other secured debt, fill in lines 33a through 33e.
      To calculate the total average monthly payment, add all amounts that are contractually due to each secured creditor in
      the 60 months after you file for bankruptcy. Then divide by 60.

                                                                                                                                       Average monthly
                                                                                                                                       payment
              Mortgages on your home
      33a.                                                                                                                                   $1,546.20
              Copy line 9b here............................................................................................................................................................................................
              Loans on your first two vehicles
      33b.                                                                                                                                          $0.00
              Copy line 13b here............................................................................................................................................................................................
      33c.                                                                                                                                          $0.00
              Copy line 13e here............................................................................................................................................................................................
      33d.    List other secured debts:
      Name of each creditor for                                    Identify property that                       Does payment
      other secured debt                                           secures the debt                             include taxes or
                                                                                                                insurance?

      Conns                                                        Grill and lawnmower                                         No                     $20.00
                                                                                                                               Yes

      Progressive Leasing                                          Mattress                                                    No                       $7.50
                                                                                                                               Yes
                                                                                                                               No
                                                                                                                                        +
                                                                                                                               Yes
                                                                                                                                                                        Copy total
      33e.                                                                                                       $1,573.70
              Total average monthly payment. Add lines 33a through 33d...............................................................                                   here                        $1,573.70

 34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property
     necessary for your support or the support of your dependents?

             No. Go to line 35.
             Yes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep
                  possession of your property (called the cure amount). Next, divide by 60 and fill in the information below.

 Name of the creditor                         Identify property that                             Total cure                                 Monthly cure
                                              secures the debt                                   amount                                     amount

 Ocwen Loan Servicing LLC 10037 Regent Row St                                                         $6,500.00            ÷ 60 =                   $108.33

                                                                                                                           ÷ 60 =

                                                                                                                           ÷ 60 =       +
                                                                                                                                                                        Copy total
                                                                                                                             Total                  $108.33             here                           $108.33

 35. Do you owe any priority claims--such as a priority tax, child support, or
     alimony--that are past due as of the filing date of your bankruptcy case?
     11 U.S.C. § 507.
             No. Go to line 36.
             Yes. Fill in the total amount of all of these priority claims. Do not include
                  current or ongoing priority claims, such as those you listed in line 19.

                                                                                                                              $15,050.16
                     Total amount of all past-due priority claims...................................................................................... ÷ 60 =                                         $250.84




Official Form 122C-2                                                      Chapter 13 Calculation of Your Disposable Income                                                                                   page 6
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Debtor 1          Jose Raymond Briones                                                                                          Case number (if known)

 36. Projected monthly Chapter 13 plan payment

        Current multiplier for your district as stated on the list issued by the Administrative
        Office of the United States Courts (for districts in Alabama and North Carolina) or
        by the Executive Office for United States Trustees (for all other districts).

                                                                                                                                               X             10 %
        To find a list of district multipliers that includes your district, go online using the link
        specified in the separate instructions for this form. This list may also be available
        at the bankruptcy clerk's office.

                                                                                                                                                                       Copy total
        Average monthly administrative expense                                                                                                                         here

 37. Add all of the deductions for debt payment.
     Add lines 33g through 36.                                                                                                                                                        $1,932.87

 Total Deductions from Income

 38. Add all of the allowed deductions.
                                                                                                              $2,535.00
        Copy line 24, All of the expenses allowed under IRS expense allowances...........................................................

        Copy line 32, All of the additional expense deductions...............................................................                           $0.00

        Copy line 37, All of the deductions for debt payment.....................................................                       +          $1,932.87
                                                                                                                                                                       Copy total
        Total deductions                                                                                                                           $4,467.87           here           $4,467.87



 Part 2:            Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)
 39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
                                                                                                                                               $2,124.91
     Statement of Your Current Monthly Income and Calculation of Commitment Period. ................................................................

 40. Fill in any reasonably necessary income you receive for support of dependent children.
     The monthly average of any child support payments, foster care payments, or
     disability payments for a dependent child, reported in Part 1 of Form 122C-1, that
     you received in accordance with applicable nonbankruptcy law to the extent
     reasonably necessary to be expended for such child.

 41. Fill in all qualified retirement deductions. The monthly total of all amounts that
     your employer withheld from wages as contributions for qualified retirement
     plans, as specified in 11 U.S.C. § 541(b)(7) plus all required repayments of loans                                                                 $0.00
     from retirement plans, as specified in 11 U.S.C. § 362(b)(19).

 42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A).
                                                                                                                                               $4,467.87
     Copy line 38 here.......................................................................................................................................................

 43. Deduction for special circumstances. If special circumstances justify additional
     expenses and you have no reasonable alternative, describe the special
     circumstances and their expenses. You must give your case trustee a detailed
     explanation of the special circumstances and documentation for the expenses.

          Describe the special circumstances                                               Amount of expense




                                                                                            +
                                                                                                                         Copy
                                                                                 Total                      $0.00 here                  +               $0.00




Official Form 122C-2                                                        Chapter 13 Calculation of Your Disposable Income                                                              page 7
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Debtor 1        Jose Raymond Briones                                                                                Case number (if known)

                                                                                                                                                    Copy
                                                                                                                            $4,467.87                                  –
 44. Total adjustments. Add lines 40 through 43..............................................................................................................................
                                                                                                                                                    here                         $4,467.87


 45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                                                                ($2,342.96)

 Part 3:          Change in Income or Expenses
 46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form have changed or are
     virtually certain to change after the date you filed your bankruptcy petition and during the time your case will be open, fill in the
     information below. For example, if the wages reported increased after you filed your petition, check 122C-1 in the first column, enter
     line 2 in the second column, explain why the wages increased, fill in when the increase occurred, and fill in the amount of the
     increase.


         Form              Line       Reason for change                                                        Date of change                    Increase or         Amount of change
                                                                                                                                                 decrease?

               122C-1                                                                                                                                 Increase
               122C-2                                                                                                                                 Decrease

               122C-1                                                                                                                                 Increase
               122C-2                                                                                                                                 Decrease

               122C-1                                                                                                                                 Increase
               122C-2                                                                                                                                 Decrease

               122C-1                                                                                                                                 Increase
               122C-2                                                                                                                                 Decrease


 Part 4:          Sign Below

       By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


       X    /s/ Jose Raymond Briones                                                                   X
            Jose Raymond Briones, Debtor 1                                                                 Signature of Debtor 2

            Date 4/1/2019                                                                                  Date
                 MM / DD / YYYY                                                                                     MM / DD / YYYY




Official Form 122C-2                                                 Chapter 13 Calculation of Your Disposable Income                                                                 page 8
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                                      UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF TEXAS
                                            FORT WORTH DIVISION

  IN RE: Jose Raymond Briones                                                    CASE NO.
                                     Debtor


                                                                                CHAPTER      13
                                  Joint Debtor

                                                 CERTIFICATE OF SERVICE


   I, the undersigned, hereby certify that on April 3, 2019, a copy of the attached Chapter 13 Plan, with any attachments,
was served on each party in interest listed below, by placing each copy in an envelope properly addressed, postage fully
prepaid in compliance with Local Rule 9013 (g).




                                 /s/ Kathleen Munden
                                 Kathleen Munden
                                 Bar ID:00795547
                                 Munden Law Firm
                                 4500 Mercantile Plaza Dr
                                 Suite 300
                                 Fort Worth, TX 76137
                                 (817) 361-4325


1st American                                     Assetcare                                  Cash America
8802                                             3421                                       2505
2019 8th Ave                                     2222 Texoma Pkwy Ste 180                   17 Triangle Park
Fort Worth, TX 76110                             Sherman, TX 75090                          Cincinnati, OH 45246



Absolute Collection Services                     Avio Credit Inc.                           Cash Net USA
7966                                             0848                                       5970
50 Palmetto Bay Rd #205                          PO Box 780408                              PO Box 18066
Hilton Head Island, SC 29928                     Wichita, KS 67278-0408                     Hauppauge, NY 11788



Ace Credit Services                              Bullcity Financial Solutions               Cash Store
3001                                             5148                                       5273
6304 Jacksboro Hwy                               1107 W Main St Ste 201                     1901 Gateway Dr, Suite 200
Fort Worth, TX 76135                             Durham, NC 27701                           Irving TX 75038



Advance America                                  Capital One                                Citi
9906                                             5263                                       6330
9112 Camp Bowie West Blvd, Suite 120             PO Box 30285                               PO Box 6500
Fort Worth, TX 76116                             Salt Lake City UT 84130-0285               Sioux Falls SD 57117
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                                    UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF TEXAS
                                          FORT WORTH DIVISION

  IN RE: Jose Raymond Briones                                                CASE NO.
                                  Debtor


                                                                             CHAPTER    13
                                Joint Debtor

                                               CERTIFICATE OF SERVICE
                                                   (Continuation Sheet #1)

Commonwealth Financial Systems Inc.            Credit Union of Texas                    Fortiva Retail Credit
09N1                                           4700                                     1429
245 Main Street                                PO Box 515169                            PO Box 105555
Scranton, PA 18519                             Dallas, TX 75251                         Atlanta, GA 30348-5555



Computer Credit Inc                            Credit Union Services, Inc.              Harris & Harris Ltd.
0772                                           5469                                     3891
PO Box 5238                                    PO Box 515718                            222 Merchandise Mark Plaza
Durham, NC 27713-5238                          Dallas, TX 75251-5718                    Chicago, IL 60654



Conns                                          EECU                                     I.C.Systems
5906                                           0003                                     3274
PO Box 815867                                  PO Box 1777                              PO Box 64137
Dallas, TX 75234-5867                          Fort Worth, TX 76101                     Saint Paul, MN 55164-0137



Continental                                    First Access Visa                        Integrity Funding
6787                                           4306                                     9906
PO Drawer 811                                  PO Box 89028                             84 Villa Rd
Spartanburg, SC 29304                          Sioux Falls, SD 57109-9028               Greenville, SC 29615



Credit Management LP                           First Bank of Delaware                   Internal Revenue Service
2279                                           6787                                     5469
4200 International Pkwy                        1000 Rock Run Parkway                    PO Box 7346
Carrollton, TX 75007                           Wilmington, DE 19801                     Philadelphia PA 19101-7346



Credit One Bank                                First Premier Bank                       James Kendall
0668                                           7815                                     None
PO Box 98873                                   PO Box 5524                              117 Sproles Dr
Las Vegas, NV 89193-8673                       Sioux Falls, SD 57117-5524               Fort Worth, TX 76126



Credit Systems International                   First Premier Bank                       Jefferson Capital Systems LLC
5394                                           4576                                     4309
1277 Country Club Lane                         PO Box 5524                              PO Box 7999
Fort Worth, TX 76112                           Sioux Falls, SD 57117-5524               Saint Cloud, MN 56302
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                                      UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF TEXAS
                                            FORT WORTH DIVISION

  IN RE: Jose Raymond Briones                                                     CASE NO.
                                    Debtor


                                                                                  CHAPTER    13
                                  Joint Debtor

                                                 CERTIFICATE OF SERVICE
                                                     (Continuation Sheet #2)

Jose Raymond Briones                             Phoenix Financial Services LLC              Progressive Leasing
10037 Regent Row St                              9699                                        xxxnown
Fort Worth, TX 76126                             8902 Otis Ave Ste 103A                      256 W Data Dr
                                                 Indianapolis, IN 46216-1077                 Draper UT 84020



LVNV                                             Poolmasters Inc.                            Reflex Cardholder Services
3082                                             2307                                        4433
PO Box 740281                                    7329 Bramblewood Rd                         PO Box 3220
Houston, TX 77274                                Fort Worth, TX 76133                        Buffalo, NY 14240



North Texas Tollway Authority                    Portfolio Recovery Associates               Speedy Cash
5942                                             xxxnown                                     8357
PO Box 660244                                    PO Box 41067                                PO Box 780408
Dallas, TX 75266                                 Norfolk, VA 23541                           Wichita, KS 67278-0408



Ocwen Loan Servicing LLC                         Portfolio Recovery Associates               Think Cash
9437                                             5827                                        xxxnown
PO Box 24738                                     PO Box 41067                                PO Box 101842
West Palm Beach, FL 33416-4738                   Norfolk, VA 23541                           Fort Worth, TX 76126



One Main Financial                               Power Finance Texas                         True Financial Services
7020                                             9289                                        3001
4608 Bryant Irvin Rd, Suite 411                  1303 N. Collins St                          PO Box 2803
Fort Worth, TX 76132                             Arlington, TX 76011                         Peachtree City, GA 30269-0803



Paula Moore                                      Premier Bankcard/Charter                    United Revenue Corp
3804                                             4576                                        9453
933 W Weatherford St Ste 200                     PO Box 2208                                 204 Billings St Ste 120
Fort Worth, TX 76102                             Vacaville, CA 95696                         Arlington, TX 76010-2495



Payday Select                                    Professional Finance Co., Inc.              United States Trustee
5469                                             6584                                        1100 Commerce St Room 976
PO Box 852                                       5754 West 11th St, Suite 100                Dallas, TX 75242-0996
Ruidoso, NM 88345                                Greeley, CO 80634-4809
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                                    UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF TEXAS
                                          FORT WORTH DIVISION

  IN RE: Jose Raymond Briones                                               CASE NO.
                                  Debtor


                                                                            CHAPTER    13
                                Joint Debtor

                                               CERTIFICATE OF SERVICE
                                                  (Continuation Sheet #3)

Valero Gas Card
0001
PO Box 631
Amarillo TX 79105-0631



Verizon Wireless
xxxnown
PO Box 650051
Dallas, TX 75265



Wachovia
xxxnown
PO Box 21566
Greensboro, NC 27420-1566
